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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

     IN RE: JOHNSON & JOHNSON TALCUM MDL No. 16-2738 (FLW-
     POWDER PRODUCTS MARKETING,      LHG)
     SALES PRACTICES, AND PRODUCTS
     LIABILITY LITIGATION


     THIS DOCUMENT RELATES TO ALL
     CASES



        THE PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM
           OF LAW IN SUPPORT OF MOTION TO EXCLUDE THE
                   GEOLOGIC TESTING OPINIONS OF
             DRS. ANN G. WYLIE AND MELINDA DARBY DYAR
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    I.    INTRODUCTION
          U




          The Plaintiffs’ Steering Committee (“PSC”) respectfully submits this motion,

    pursuant to Fed. R. Evid. 104 (a), 702, 703 and 403, to exclude the opinions and

    testimony of Defendants’ geologic testing experts, Ann G. Wylie, Ph.D. and Melinda

    Darby Dyar, Ph.D.          Both experts were tasked with critiquing the testing

    methodology and conclusions of Plaintiffs’ experts, Drs. William E. Longo and

    Mark W. Rigler. 1 Dr. Dyar, for example, testified that “[she] was asked to review
                     P0F   P




    the methodology used by Drs. Longo and Rigler in a series of reports… and to write

    a report giving my review.” 2 As outlined below, neither Dr. Wylie nor Dr. Dyar are
                                 P1F   P




    qualified to opine on the testing done by Drs. Longo and Rigler. Further, to the

    extent Defendants’ experts opine on the testing, their methodology falls well short

    of the standards articulated by the United States Supreme Court in Daubert v.




    1
     Unless otherwise stated, references to Dr. Longo or Dr. Rigler are meant to include
    reference to the team of analysts who worked collectively in analyzing talcum
    powder samples.
    2
      See April 2, 2019 Deposition of Melinda Darby Dyar, Ph.D. (“Dyar Dep.”) at
    16:17-22, attached hereto as Exhibit A. Dr. Wylie testified similarly, stating that the
    scope of work was to “review the literature on the deposits that had been used by
    Johnson & Johnson, Italy and Vermont, and that I would review the reports that were
    provided by Drs. Longo and Rigler.” See March 13, 2019 Deposition of Ann G.
    Wylie, Ph.D. (“Wylie Dep.) at 13:18-22, attached hereto as Exhibit B. See also
    Wylie Dep. at 58:9-12 (“My charge was to review the literature and the reports of
    Drs. Longo and Rigler. So it did not include requests to review anything else.”).
                                              1
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    Merrell Dow Pharm., Inc., 509 U.S. 579 (1993). Their opinions, therefore, should

    be excluded.

    II.     FACTUAL BACKGROUND
            U




            A. Plaintiffs’ Steering Committee Experts
               Dr. William E. Longo and Dr. Mark W. Rigler
                U




            Dr. William E. Longo has a Bachelor of Science degree in Microbiology, a

    Master of Science degree in Engineering and a Doctorate in Philosophy in Materials

    Science, from the University of Florida. 3 Dr. Longo is a member of numerous
                                                  P2F   P




    organizations and professional groups specializing in the testing and analysis of

    asbestos-containing materials, including the Environmental Protection Agency

    (EPA) Peer Review Group for the Asbestos Engineering Program, the American

    Industrial Hygiene Association (AIHA), Materials Research Society, American

    Society for the Testing of Materials (ASTM), and the American Society of

    Materials. 4    P3F   P




            Dr. Longo has been analyzing products and other samples for whether they

    contain asbestos for over 30 years. 5 Under his direction, his laboratory has tested
                                        P4F   P




    3
        See Curriculum Vitae of William E. Longo, Ph.D. attached as Exhibit C.
    4
      See June 30, 2011 Affidavit of William E. Longo, Ph.D. (“Longo Aff.”) at ¶ 9,
    attached hereto as Exhibit D.
    5
     See February 5, 2019 Deposition of William E. Longo, Ph.D. (“Longo Dep.”) at
    350:11-15, attached hereto as Exhibit E.
                                                  2
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    between 300,000 and 400,000 individual samples of asbestos products. 6              P5F   P   Dr.

    Longo’s employer, MAS, LLC is a leading engineering consulting firm, which

    provides a broad range of services including environmental and industrial hygiene

    and emissions testing. 7   P6F   P




             Dr. Rigler, also an employee of MAS, has been analyzing products and other

    samples for whether they contain asbestos for over 25 years. 8 Dr. Rigler has a
                                                                    P7F   P




    Bachelor of Science degree in biology from Villanova University. 9 He also holds a
                                                                              P8F   P




    Ph.D. in microbiology from the University of Georgia with a heavy emphasis on

    using electron microscopy techniques. 10 Dr. Rigler has designed custom analytical
                                                    P9F   P




    protocols for product and chemical studies and has extensive laboratory

    management experience. 11 Dr. Rigler helped develop the quality control program at
                                         P10F   P




    MAS which requires certification by the National Institute of Standards and

    Technology, National Voluntary Laboratory Accreditation Program (“NIST

    NVLAP”). 12 Dr. Rigler is responsible for ensuring that the studies conducted at
                  P11F   P




    6
        Id. at 348:23-349:4.
    7
        Longo Aff. at ¶ 12.
    8
     See February 6, 2019 Deposition of Mark W. Rigler, Ph.D. (“Rigler Dep.”), at
    220:20-223:2, attached hereto as Exhibit F.
    9
        Id. at 219:21-220:3.
    10
         Id. at 220:4-8.
    11
         Id. at 224:3-225-4.
    12
         Id. at 224:3-225-4.
                                                              3
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    MAS follow the quality protocols and standards required by various lab certification

    bodies. 13
             P12F




             To perform its work, MAS has employees with expert knowledge of a broad

    range of fields including materials sciences, chemistry, physics, biology, industrial

    hygiene, geology, mechanical engineering, and microscopy. MAS utilizes multiple,

    standardized analytical techniques. The MAS methods include the very testing

    techniques routinely employed by and available to industry in the 1960s and 70s, as

    well as updated, standardized testing procedures. 14 For example, the aspect-ratio
                                                         P13F   P




    distribution for the asbestos fibers identified by Dr. Longo in his testing are virtually

    identical to a number of other analyses on undisputed asbestos samples, including

    those conducted by Dr. Alice Blount, a former consultant to Johnson & Johnson, the

    National Institute of Standards Technology (NIST), and the United States

    Geological Survey (USGS).




                                           [Image Below]




    13
         Id. at 225:10-227:13.
    14
         Longo Aff. at ¶ 12.
                                               4
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               The EPA requested that Dr. Longo, and other scientists, help develop the

    EPA’s protocol for taking and analyzing settled asbestos dust samples. 15 As a
                                                                              P14F   P




    member of ASTM, Dr. Longo was responsible for writing the ASTM asbestos dust

    analysis standards. 16 In addition, Dr. Longo has published numerous articles on the
                          P15F   P




    subject of the analysis and testing of asbestos-containing materials. Dr. Longo

    regularly performs work for clients not involved in litigation. In all of his work,

    regardless of whether performed on behalf of plaintiffs or defendants in litigation,

    performed for matters not involving litigation, or performed for this litigation, he


    15
         Longo Aff. at ¶ 10.
    16
         Id.
                                               5
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 utilizes the same generally accepted methodologies and analysis for testing. 17 MAS
                                                                               P16F   P




 videotape demonstrations and studies are used for educational and training purposes

 in conjunction with the American Industrial Hygiene Association, American Society

 of Safety Engineers, the Environmental Institute, AHERA certification training, and

 the U.S. Public Health Service. 18P17F   P




            Dr. Longo was tasked with analyzing samples of Defendants’ talcum powder

 products for the presence of asbestos and fibrous talc. He did so using the generally

 accepted methodologies regularly employed in his lab, including transmission

 electron microscopy (TEM) which is widely recognized as the only analytical

 method and tool with the appropriate sensitivity for analysis of asbestos

 contamination at low levels (by weight) typically seen in talc. 19 Using TEM
                                                                    P18F   P




 analysis, each talcum powder sample was tested for the presence of asbestos using

 information obtained from the electron microscope about the particles’ chemical

 signature (determined using EDS/EDXA analysis), its’ crystalline structure

 (determined by SAED analysis), and by measuring overall size and shape using

 photomicrographs (morphology and aspect ratio). In addition to using TEM, Dr.


 17
      Id. at ¶ 14.
 18
      Id.
 19
   Since at least the 1970s, Defendants have acknowledged that “there seems to be
 general agreement that Transmission Electron Microscopy is the only absolute proof
 with electron diffraction for the identification of asbestos in talc.” See January 3,
 1974 Johnson & Johnson memo from A. J. Goudie, attached hereto as Exhibit G.
                                              6
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 Longo and his lab also analyzed many of the samples using a polarized light

 microscope (PLM) 20 and x-ray diffraction (XRD), none of which are as sensitive as
                      P19F   P




 TEM for the detection of asbestos, but which provide additional confirmatory

 information about the presence of asbestos in talcum powder samples.

          B. Summary of the Opinions of Ann G. Wylie, Ph.D.
              U




          Dr. Wylie was a professor of geology at the University of Maryland until her

 retirement in 2014, and she continues to hold an appointment as Professor Emerita. 21                P20F   P




 During her career Dr. Wylie has published articles on talc, amphibole and asbestos,

 including papers related to asbestos in ambient air and water. 22 However, Dr. Wylie
                                                                     P21F   P




 has no experience in the use of TEM to test for the presence of asbestos. 23 Dr. Wylie
                                                                                P22F   P




 opines that it is “highly unlikely” that asbestos could be found in Defendants’ talcum

 powder products due to the geologic settings, reports from the mine geologist, and

 literature descriptions of the ore deposits she reviewed. 24 Her opinions rely upon a
                                                          P23F   P




 definition of talc as a mineral formed by the alteration of Mg-rich rocks, 25 and a       P24F   P




 definition of amphibole and serpentine minerals as common rock-forming minerals


 20
   Polarized light microscopy was also used to analyze the samples for fibrous talc.
 21
   See February 25, 2019 Expert Report of Ann G. Wylie, PhD For General
 Causation Daubert Hearing (“Wylie Report”) at 2, attached hereto as Exhibit H.
 22
      Id. at 3.
 23
      See Wylie Dep. at 227:7-16.
 24
      Wylie Report at 18.
 25
      Wylie Report at 3.
                                            7
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 that can be associated with talc ore but that “occur rarely as asbestos.” 26 She asserts
                                                                                  P25F       P




 that “mineral fiber is uncommon,” and that amphiboles that form in the asbestiform

 habit “exhibit special properties that are different than those same amphiboles that

 otherwise form in nature.” 27 Dr. Wylie states that cleavage fragments 28 are not
                                  P26F   P                                                       P27F   P




 asbestos or asbestiform and “do not have the properties of asbestos.” 29 She opines
                                                                                P28F     P




 that regulatory standards are overly broad and “obscure the fundamental

 characteristics of asbestos,” thereby creating false positives in testing for asbestos. 30                 P29F   P




 She states that the formation of talc “does not require or favor the formation of

 asbestos in the ore,” 31 and that OSHA’s “oversimplified” regulations “confused the
                       P30F   P




 distinctions between asbestos and cleavage fragments.” 32  P31F




          With respect to the work done by Drs. Longo and Rigler in this litigation and

 the opinions they have offered, Dr. Wylie opines that their reports “do not present

 evidence consistent with the optical properties or habit of asbestos.” 33 Her opinions
                                                                         P32F     P




 26
      Wylie Report at 4.
 27
      Wylie Report at 6.
 28
   According to Dr. Longo, particles which have less than a 3 to 1 ratio are cleavage
 fragments. See Longo Dep. at 173:23-174:1.
 29
      Wylie Report at 9.
 30
      Wylie Report at 11.
 31
      Wylie Report at 22.
 32
      Wylie Report at 22.
 33
      Wylie Report at 13.
                                             8
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 in regard to Drs. Longo and Rigler are based upon her position that polarized light

 microscopy (“PLM”) is effective for detecting and identifying the particular “optical

 properties” that are characteristic of cleavage fragments. 34 She opines that PLM is
                                                                   P33F   P




 a more reliable instrument than the TEM employed by Drs. Longo and Rigler and

 that TEM does not distinguish between elongated mineral particles (“EMPs”) of talc

 and anthophyllite, a type of amphibole asbestos. 35 In Dr. Wylie’s opinion, the
                                                        P34F   P




 photomicrographs in the reports of Drs. Longo and Rigler document cleavage

 fragments, not asbestos, because “they are not bundles,” 36 one “cannot simply
                                                                              P35F   P




 calculate [the] aspect ratio” to determine if a particle is asbestiform. 37             P36F




          C. Summary of Dr. Dyar’s Opinions
             U




          Dr. Dyar is the current chair of the Department of Astronomy at Mount

 Holyoke College. She studied geology at Wellesley College and has a PhD in

 geochemistry and mineralogy from MIT. 38 She has taught general mineralogy and
                                             P37F   P




 authored basic mineralogy textbooks but, despite being well published, Dr. Dyar has




 34
      Wylie Report at 13.
 35
      Wylie Report at 17.
 36
      Wylie Report at 15.
 37
      Wylie Report at 17.
 38
   See February 25, 2019 Expert Report of M. Darby Dyar, PhD for General
 Causation Daubert Hearing (“Dyar Report”) at 5, attached hereto as Exhibit I.
                                             9
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 little to no experience with asbestos, in general, or protocols for testing for the

 presence of asbestos in bulk materials.

       Dr. Dyar’s opinions focus on the opinions and analysis of Drs. Longo and

 Rigler and the testing performed by both. She opines that the work done by Drs.

 Longo and Rigler was inherently designed to achieve the results they desired for

 purposes of this litigation and that no asbestos minerals are present in the material

 Drs. Longo and Rigler tested. However, Dr. Dyar does no independent testing or

 analysis to contradict the findings of Plaintiffs’ experts. She offers no opinions

 relating to her testing or analysis, labeling her subjective beliefs as opinions founded

 in expert judgment.

       Despite her criticisms, Dr. Dyar is unable to walk away from the fact that Drs.

 Longo and Rigler and their team of analysts used proper analytical tools – three

 different analyses using TEM in addition to PLM – to analyze the talcum powder

 samples that were tested. Nor can Dr. Dyar deny that they used generally accepted

 ISO standards for testing asbestos in bulk samples, generally, and for asbestos and

 fibrous talc in talcum powder, specifically, something that she had not previously

 done herself or even seen prior to being engaged by Defendants as an expert.

    III.   LEGAL STANDARDS
           U




       The PSC incorporates as if set forth in entirety the legal standards set forth in

 The Plaintiffs’ Steering Committee’s Omnibus Memorandum of Law Regarding

                                           10
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 Daubert Legal Standard and Scientific Principles for Assessing General Causation

 (“Omnibus brief”) as supplemented herein.

    IV.   ARGUMENT
          U




       A. Drs. Wylie And Dyar Lack the Experience and Qualifications
          Necessary to Opine on the Validity of TEM Testing and the
          Findings of Drs. Longo and Rigler
          U




       As the parties offering Drs. Wylie and Dyar, the burden is on Defendants

 Johnson & Johnson and Johnson & Johnson Consumer Inc. (hereinafter “J&J”) to

 demonstrate that the experts are qualified and have used a reliable scientific method

 to reach their opinions. See Padillas v. Stark-Gamco, Inc., 186 F.3d 412, 418 (3d

 Cir. 1999).   It is well-settled that “[a]n expert witness must have such skill,

 knowledge, or experience in the field as to make it appear that his opinion will

 probably aid the trier of fact in his search for the truth.” Aloe Coal Co. v. Clark

 Equip. Co., 816 F.2d 110, 114 (3d Cir. 1987).

       While courts have recognized a “liberal standard” for qualifying experts, the

 Third Circuit has made it clear that there is “a floor with respect to an expert

 witness’s qualifications.” Elcock v. Kmart Corp., 233 F.3d 734, 743 (3d Cir. 2000).

 This Circuit has “not pursued a policy of qualifying any proffered witness as an

 expert.” Id. (quoting Waldorf v. Shuta, 142 F.3d 601, 625 (3d Cir. 1998). A court

 still must focus on whether the qualifications that an expert does have provide a

 foundation for the witness to testify meaningfully on a given matter. See Buzzerd v.

                                          11
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 Flagship Carwash of Port St. Lucie, Inc., 669 F. Supp. 2d 514, 522 (M.D. Pa. 2009)

 (citing Rose v. Truck Centers, Inc., 611 F. Supp. 2d 745, 749 (N.D. Ohio 2009) (“The

 issue with regard to expert testimony is not the qualifications of a witness in the

 abstract, but whether those qualifications provide a foundation for a witness to

 answer a specific question.”)). A basic understanding of a general subject matter

 does not alone qualify a witness as an expert on that specific subject. See In re

 Unisys Sav. Plan Litig., 173 F.3d 145, 156-57 (3d Cir. 1999). Even when a witness

 is qualified as an expert in a particular field, the court cannot permit the witness to

 testify as to matters that are outside the area of his expertise. This prohibition applies

 even when the subject matter of the testimony is related to the witness’ area of

 expertise. See D & D Assocs., Inc. v. Bd. of Educ. of N. Plainfield, 03-cv-1026

 (MLC), 2006 WL 755984, at *3 (D.N.J. Mar. 20, 2006) (“If an expert’s area of

 expertise is adjacent to, but not actually encompassing, the subject matter of his

 testimony, he may be deemed unqualified.”). 39 Any testimony outside the expert’s
                                                 P38F   P




 area of expertise must be stricken. See Fireman’s Fund Ins. Co. v. Videfreeze Corp.,

 540 F.2d 1171, 1180 (3d Cir. 1976) (excluding testimony as to whether a landslide




 39
   See also Player v. Motiva Enterprises LLC, 02-cv-3216 (RBK), 2006 WL 166452,
 at *5 (D.N.J. Jan. 20, 2006) (finding that an expert who was experienced in
 appraising uncontaminated properties was unqualified to provide an opinion on the
 value of contaminated properties).
                                            12
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 was caused by an earthquake because, although expert was a geologist, he had no

 training in seismology).

                         1. Dr. Wylie Lacks the Necessary Qualifications to Opine on
                           UTEM Testing and the Findings of Drs. Longo and Rigler

          Dr. Wylie is not qualified to opine on the use and results of the TEM testing

 performed by Drs. Longo and Rigler. Dr. Wylie has admitted that she has never

 used TEM to test for the presence of asbestos. 40 She further testified that if asked
                                                       P39F   P




 to use TEM to evaluate for asbestos she would not be able to make determinations

 and her opinions would be nothing more than a guess. 41 When analyzing a sample
                                                                  P40F   P




 with TEM, Dr. Wylie is unable to make distinctions with a reasonable degree of

 scientific certainty as to whether the particle she is viewing is asbestos, and therefore,

 she does not possess the necessary qualifications and expertise to criticize Drs.

 Longo and Rigler’s TEM analysis of talcum powder samples. 42 Admittedly, when
                                                                             P41F   P




 it comes to looking at particles under TEM, Dr. Wylie is “not at all clear what’s

 going on.” 43 As a result of Dr. Wylie’s lack of knowledge and qualifications specific
              P42F   P




 to TEM she should be precluded from commenting on TEM or the use of TEM by

 Drs. Longo and Rigler.


 40
      Wylie Dep. at 227:7-16.
 41
      Id. at 209:8 – 210:19.
 42
      See Wylie Dep. at 211:24-213:2.
 43
      Id. at 215:17-216:3.
                                                  13
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                        2. Dr. Dyar Lacks the Necessary Qualifications to Opine on the
                           Findings of Drs. Longo and Rigler Related to Asbestos or the
                          UPresence of Asbestos in Defendants’ Talcum Powder

          Dr. Dyar is not qualified to opine on appropriate methods for testing for

 asbestos. She has almost no personal or relevant experience testing for asbestos. She

 has neither written about nor tested a sample of talc or talcum powder to determine

 whether or not it contained asbestos. 44 She spends “zero” time on a daily, weekly
                                             P43F       P




 or yearly basis analyzing material to determine whether or not they contain

 asbestos. 45 In fact, Dr. Dyar has never analyzed any sample, whether talcum powder
             P44F   P                   U           U




 or not, to determine if it contained asbestos. 46 She admitted that, despite spending
                                                                 P45F   P




 nearly 3,000 hours a year in a laboratory, less than 10 of those hours are spent

 analyzing samples which may include asbestos that had already been identified. 47 P46F   P




          Most of Dr. Dyar’s “knowledge” was acquired specifically for litigation.

 Prior to being retained, she had never looked at any of the asbestos testing protocols

 that are essential to Dr. Longo’s testing and this case, including the ISO protocols,

 the Yamate publication from the U.S. Environmental Protection Agency or the




 44
      Dyar Dep. at 50:1-4; 58:10-17.
 45
      Id. at 54: 3-14.
 46
      Id. 58:10-17; 297:7-19
 47
      Id. at 364:22-365:7.
                                                            14
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 Blount paper. 48, 49 Not only has she “never devised a protocol for analyzing
                  P47F   P   P48F   P




 asbestos in anything,” 50 she has never relied on any “published protocol for
                                        P49F   P




 analyzing the presence of asbestos.” 51 Dr. Dyar first reviewed the Blount
                                                          P50F   P




 preparation method after she was retained for purposes of this litigation, 52 but she
                                                                                 P51F   P




 did not read Alice Blount’s deposition related to the preparation method or any

 correspondence between Dr. Blount and J&J regarding asbestos in talcum powder. 53          P52F   P




 Dr. Dyar could not say whether ISO 22262-2, an air quality testing standard, is a

 reliable method to analyze whether or not there are small amounts of asbestos in

 talcum powder. In fact, she stated that she did not know what the International

 Standard Organization is. 54                  P53F   P




          In her report, Dr. Dyar is very critical of Dr. Longo’s identification of asbestos

 fibers and bundles. However, her knowledge on asbestos bundles appears to have



 48
    Blount, A M. “Amphibole Content of Cosmetic and Pharmaceutical Talcs.”
 Environmental Health Perspectives 94 (August 1991): 225–30, attached as Exhibit
 J. Dr. Blount analyzed samples from talc mines, including Vermont mines that were
 used to source Johnson & Johnson’s talcum powder, and found that certain of those
 samples were positive for asbestos.
 49
      Dyar Dep. at 62:22- 63:14; 63:18-21; 67:5-12; 67:16-68:22.
 50
      Id. at 264:22-265:5.
 51
      Id. at 265:6-18.
 52
      Id. at 101:2-10.
 53
      Id. at 102:25-103:10.
 54
      Id. at 61:19-21.
                                                            15
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 been acquired during her research for her report, as she noted that bundle is not a

 term she generally uses to describe minerals. 55 Dr. Dyar admitted that she has “very
                                               P54F   P




 little experience looking at amphibole bundles in thin section, which is why [she]

 referred to the literature to find what those images looked like.” 56 When asked about
                                                                                P55F   P




 the relevant forms of asbestos and bundles she had no independent professional

 knowledge. Instead, she presumed that tremolite can form as an asbestiform bundle

 based on the image she found for her report purporting to show a tremolite bundle. 57                P56F   P




 (She was unaware if anthophyllite could form as an asbestiform bundle. 58                 P57F   P




          Dr. Dyar has never published anything in a peer-reviewed journal about

 testing talcum powder to determine if it contains asbestos. 59 In fact, she has never
                                                                     P58F   P




 published a peer reviewed article regarding how to determine if there is asbestos in

 any product. 60 Additionally, she has never published on how to use EDS, SAED or
                 P59F   P




 PLM testing methods to identify asbestos in materials. 61 The only papers that she
                                                          P60F   P




 has contributed to regarding asbestos involved testing for vermiculite in Libby,



 55
      Id. at 184:11-18.
 56
      Id. at 293:21-294:17.
 57
      Id. at 184:11-185:9.
 58
      Id. at 185:10-15.
 59
      Id. at 50:5-9.
 60
      Id. at 46:24-47:2.
 61
      Id. at 47:3-19.
                                          16
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 Montana. However, her contribution to that paper had nothing to do with asbestos

 but was limited to an analysis of the iron redux ratio. 62
                                                        P61F   P




          Dr. Dyar is also not qualified to opine on the presence or absence of asbestos

 in mines where Defendants’ talcum powder was derived.               Dr. Dyar has no

 knowledge regarding talc mines and their geology and accessory minerals. She had

 “no idea” what accessory minerals were found in talc ore from the Vermont mines

 from which Defendants obtained talc. 63 When asked if talc deposits can have
                                           P62F    P




 differing amounts of accessory minerals in the ore she stated “I know nothing about

 talc mines, so I can’t answer any questions relating to talc occurrences in mines.” 64
                                                                                     P63F   P




 In fact, Dr. Dyar acknowledged that she has no opinion whether talcum powder can

 be contaminated with asbestos. 65P64F




          Based upon the absolute lack of experience and qualifications related to TEM,

 the opinions of Drs. Dyar and Wylie regarding TEM testing methods and

 specifically, the criticisms of Drs Longo & Rigler’s methodology and results derived


 62
      Id. at 58:18 – 60:16.
 63
      Id. 96:18-24.
 64
   Id. at 164:5-16. In fact, Dr. Dyar testified that “I honestly don’t know anything
 about talc mines. I do know that rocks that contain talc can have a wide variety of
 mineral assemblages, but I don’t know anything about mines specifically.” Id. at
 163:18-164:3.
 65
   See id. at 97:13-18. See also id. at 114:15-115:9 (“…and I have not researched
 [whether talc can be contaminated with anthophyllite asbestos or tremolite asbestos]
 personally, so I have no opinion on it.”).
                                                  17
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 from TEM testing, should be excluded. Further, the Court should exclude in total

 the opinions of Dr. Dyar regarding the presence or absence of asbestos in

 Defendants’ products because, admittedly, she knows nothing about the methods

 used to test for the presence of asbestos in talcum powder and knows nothing about

 talc mines or the minerals that may be present in those mines.

       B. The Methodologies Employed by Drs. Wylie and Dyar Render
          Their Opinions Unreliable
           U




       The decision to admit or exclude an expert’s opinion depends upon “whether

 the ‘particular opinion is based on valid reasoning and reliable methodology.’” Oddi

 v. Ford Motor Co., 234 F.3d 145i146 (3d Cir. 2000) (citation omitted). Focusing on

 extremely limited evidence or ignoring the totality of available relevant scientific

 proof renders an expert opinion unreliable and scientifically unsound. In re

 Neurontin Mktg. & Sales Practices Litig., 04-cv-10739, 2011 WL 3852254, at *34

 (D. Mass. Aug. 31, 2011), aff’d, 712 F.3d 21 (1 st Cir. 2013) (excluding expert’s
                                                     P   P




 testimony where it was found that the expert “reach[ed] his opinion by first

 identifying his conclusion… and then cherry-picking observational studies that

 support his conclusion and rejecting or ignoring the great weight of evidence that

 contradicts his conclusion.”). “An expert’s opinion may be unreliable if he fails to

 account for contrary scientific literature and instead ‘selectively chooses his support

 from the scientific landscape.’” In re Zoloft (Setraline Hydrochloride) Prod. Liab.

 Litig., 26 F. Supp. 3d 449 (E.D. Pa. 2014) (finding expert’s opinion not reliable or
                                           18
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 scientifically unsound because the expert failed to account adequately for contrary

 evidence). “The reliability of an expert’s opinion should be seriously questioned

 when it is shown that the expert formed his or her opinion prior to reviewing

 scientific evidence, and, thereafter, merely cherry-picked evidence favorable to that

 opinion.” In re Seroquel Prods. Liab. Litig., 06-md-1769, 2009 WL 3806434, at *5

 (M.D. Fla. June 18, 2009).

          The opinions of Drs. Wylie and Dyar should be excluded because each

 proffered expert reviewed and relied upon only a limited amount of available

 information in forming their opinions. Their decision to cherry-pick evidence

 renders their opinions unreliable.

                 1. Dr. Wylie’s Opinions Should be Excluded Because She Failed
                    to Employ an Appropriate Methodology
                    U




                        a. Dr. Wylie’s Opinions Are Based on a Small Selection
                          Uof Cherry-Picked Documents

          Dr. Wylie only reviewed materials that were cherry-picked by J&J’s lawyers.

 For example, she reviewed Dr. Fred Pooley’s reports of his examination of samples

 taken from mines in Italy and Vermont and stated that they were necessary because

 “of the paucity of data in the literature.” 66 Despite being asked “to find anything I
                                           P65F   P




 could in the literature on the two mines in particular,” 67 she relied primarily on the
                                                        P66F   P




 66
      Wylie Dep. at 58:18-24
 67
      Id. at 84:8-10.
                                            19
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 Pooley non-peer-reviewed reports “because [she] couldn’t find much on the mine

 itself in Vermont.” 68 However, Dr. Wylie was never informed that Dr. Pooley was
                         P67F          P




 deposed about his report as part of the J&J talcum powder product litigation. 69 She           P68F          P




 was also unaware that Dr. Pooley found asbestiform tremolite in Italian talc, 70 and                  P69F       P




 that another Dr. Pooley report from 1977 found antigorite in samples from the

 Vermont talc mines. 71 She was not asked to review test results of any samples from
                                P70F       P




 the mines, only the “description of the geology of the mine.” 72         P71F   P




          Dr. Wylie did not review any of J&J’s internal testing documents. 73 She only
                                                                                     P72F   P




 asked for descriptions of the talc ore deposits, not for information regarding the J&J

 talcum powder product testing itself. 74 Dr. Wylie never saw core sampling results
                                                      P73F       P




 for the Argonaut mine in Vermont. 75 Dr. Wylie testified that the core sampling
                                               P74F          P




 results—including results showing there was asbestos in the Argonaut mine—would

 not have been relevant to her opinions because she “had a very specific




 68
      Id. at 84:12-14.
 69
      Id. at 224:12-17.
 70
      Id. at 226:11-16.
 71
      Id. at 101:7-13.
 72
      Id. at 59:7-9.
 73
      Id. at 38:2-13.
 74
      Id. at 39:15-17.
 75
      Id. at 55:21-25.
                                                                     20
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 assignment.” 76 However, as discussed above, her “specific assignment” was to
                      P75F   P




 analyze and critique the work of Drs. Longo and Rigler, who did test the final J&J

 talcum powder products. 77 Even more puzzlingly, Dr. Wylie testified that she would
                                        P76F   P




 not have cared if there were tests showing that asbestos was present at the mines

 used to source J&J talcum powder products, nor would she have cared if J&J failed

 to show her such tests. 78      P77F   P




          Dr. Wylie agrees that asbestos would not be present in the J&J end products

 unless asbestos was present at the mine or it was added at some later point for some

 reason. 79 Even though she was hired to critique Dr. Longo’s and Dr. Rigler’s
           P78F   P




 findings, she never received or reviewed J&J’s own internal test results to see if they

 supported or refuted Dr. Longo’s and Dr. Rigler’s conclusions. 80 Dr. Wylie did not
                                                                   P79F   P




 speak to any J&J scientists. 81                   P80F   P




          Other than Dr. Pooley’s work, there is not a single citation in Dr. Wylie’s

 report that is specific to the geology of the Vermont talc mines used to source J&J’s




 76
      Id. at 56:1-17.
 77
      Id. at 56:7-17.
 78
      Id. at 56:18-25.
 79
      Id. at 229:9-16.
 80
      Id. at 230:14-24.
 81
      Id. at 39:22-24.
                                                              21
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 talcum powder. 82 And when she was asked about the limited data she did rely on,
                       P81F   P




 Dr. Wylie did not know what methodology was employed to gather that data. 83 Dr.
                                                                               P82F   P




 Wylie relied solely on a public website as her source for information on mineral data

 at the Argonaut mine in Vermont, despite the fact that J&J had numerous analyses

 of the Argonaut and surrounding mines. 84 She also testified that she could not find
                                                        P83F   P




 much relevant information in the literature on China. 85 She had no idea when J&J
                                                                   P84F   P




 used talc from the different mines in Vermont, Italy, and China, despite agreeing

 that “timing is relevant.” 86 For example, she did not know that the Argonaut mine
                                         P85F       P




 did not open until 1974. 87      P86F          P




 82
      Id. at 50:14-21.
 83
      Id. at 53:17-23.
 84
    Id. at 54:11-55:2. See also, e.g., JNJ000245002 (Colorado School of Mines
 Research Institute, Geology and Ore Reserves, Hammondsville Mine, 1970 (an
 analysis commissioned by J&J)), attached hereto as Exhibit K; IMERYS 219720
 (Munro, RC, Cyprus Ore Reserves – Arsenic & Tremolite (1992)), attached hereto
 as Exhibit L; IMERYS 436972 (Gregg, WJ, Geology of Ore Reserves of the
 Hammondsville Ore Body (1978)), attached hereto as Exhibit M; IMERYS 425354
 (R.C. Munro, Cyprus Ore Reserve Evaluation Preliminary Summary (describing the
 presence of fibrous tremolite and actinolite)), attached hereto as Exhibit N.
 85
    Id. at 167:20-22. Though in J&J’s possession, Dr. Wylie failed to consider a
 geological survey of the Chinese Longsheng talc mine where talc for Johnson’s
 talcum powder products has been sourced since 2003: Li, Y. Y. (1979). Discussion
 on the genesis of Longsheng talc mine. Non-Metallic Mines, 1, 16-20, attached
 hereto as Exhibit O. This analysis, which was not shared with Dr. Wylie, evidences
 that talc within the mine was formed from tremolite.
 86
      Id. at 51:17-52:15.
 87
      Id. at 55:4-8.
                                                          22
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          Dr. Wylie differentiates between cosmetic and industrial talc, but was

 unaware that J&J used the same mines for both cosmetic and industrial talc—J&J

 did not give her that information. 88 She also acknowledged that she was, in fact,
                                        P87F   P




 presented with many documents for the first time at her deposition that are relevant

 to whether there is asbestos in the J&J talcum powder products: “There certainly is

 a lot of information that you showed me.” 89 Dr. Wylie did not conduct any
                                                        P88F   P




 independent research regarding the mines used to source J&J talcum powder

 products. 90 And while Dr. Wylie admits there is tremolite in the mines, she could
             P89F   P




 not say how much because she was not asked to test the material—she said she would

 need to test it to be certain. 91
                                 P90F




                         b. Dr. Wylie’s Opinions Rest on a Definition of Asbestos
                            That is Not Supported by the Literature or
                            Regulatory Standards
                             U




          Dr. Wylie relies on a truly novel (and unsupported) definition of asbestos to

 support her opinion that asbestos is not present in the talc mines and, indeed, her

 definition differs from the definition set forth in J&J’s own internal documents. 92
                                                                                    P91F   P




 She takes the position that asbestos can only be conclusively identified when fiber


 88
      Id. at 62:3-14; 64:9-65:15.
 89
      Id. at 273:16-274:1.
 90
      Id. at 54:25-55:2.
 91
      Id. at 277:12-278:20.
 92
      Id. at 108:5-20.
                                                   23
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 bundles are present, 93 and that asbestos requires a 20:1 mean aspect ratio—however,
                          P92F          P




 she cannot point to any support or source for that standard. 94 She disagrees with
                                                                    P93F   P




 both the NIOSH and OSHA standards. 95 Dr. Wylie does not identify where in the
                                                P94F   P




 geologic literature the standard used by her exists, if anywhere, 96 and she is unable
                                                                               P95F   P




 to state how many fibers are needed to establish a population or bundle of fibers. 97    P96F   P




 In contrast, Dr. Longo’s and Dr. Rigler’s reports discuss in detail the literature

 supporting an aspect ratio of 5:1 or greater and at least 0.5 µm in length, which is

 precisely what they identified in their testing of J&J talcum powder products.

          Dr. Wylie also requires tensile strength in her definition of asbestos, despite

 conceding that there is no way to test tensile strength and flexibility for a 5

 micrometer particle. 98 Further, she fails to define what “high tensile strength” would
                                 P97F       P




 entail, or how flexible a fiber would need to be to qualify. NIOSH and OSHA

 standards do not require a finding regarding tensile strength. 99
                                                                 P98F




 93
      Id. at 149:16-23.
 94
      Id. at 161:6-162:4.
 95
      Id. at 109:8-20; 140:18-141:10.
 96
      Id. at 183:21-184:8.
 97
      Id. at 246:20-247:2.
 98
      Id. at 206:12-17.
 99
      Id. at 109:8-20; 140:18-141:10.
                                                       24
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          In sum, Dr. Wylie’s opinions regarding the geology and the presence of

 asbestos in the mines sourced by J&J for its talcum powder product should be

 excluded. Dr. Wylie’s opinions on this issue are based upon a limited amount of

 cherry-picked information and she fails to account for evidence that is contrary to

 her positions. Further, the opinions are not scientifically sound as they are based

 upon improper definitions and standards.

                2. Dr. Dyar’s Opinions Should be Excluded Because They Are
                   Based Only on Subjective Belief and Unsupported Speculation
                    U




          Dr. Dyar does not follow any scientific methodology and gives no expert

 opinions. There is no methodology in her report other than to criticize Drs. Longo

 and Rigler. Dr. Dyar acknowledges that her only objective was to “review the

 methodology used by Drs. Longo and Rigler in a series of reports and write a report

 giving my review.” 100 To do this, she:
                        P99F   P




                first read the report carefully, every word. Then [] looked at all
                of the math and all the numbers and analyzed the numbers. Then
                [] sought out all of the references that were cited in those reports
                and tried to read all of them. And then [] looked at the report
                many times and tried to see if the information in the report
                justified the conclusions. (17:6-14).

          Her report did not criticize the tools or standards Dr. Longo and his team used,

 rather she criticizes how his team followed the methods and applied judgment to




 100
       Dyar Dep. at 16:15-22; 19:4-13.
                                             25
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 interpreting the data. Dr. Dyar did this while acknowledging that she did not do any

 independent research for the report, other than teaching herself about topics she was

 unfamiliar with. She admitted that she had to look up every protocol that Dr. Longo

 followed 101 and teach herself about asbestiform bundles. In short, Dr. Dyar’s
             P100F   P




 opinions rely only upon her subjective belief and speculation.

          Dr. Dyar did not test any Johnson’s Baby Powder or Shower to Shower talcum

 powder to support the positions she has taken. 102 She did not ask to review the
                                                  P101F   P




 samples that Dr. Longo analyzed so that she could analyze them. 103 She did not test
                                                                          P102F       P




 any talc ore or talcum powder that was mined in Vermont, Italy or China for the

 purposes of analyzing whether or not it contained asbestos or asbestos fibers. 104 She               P103F   P




 never reviewed any documents relating to anyone else’s testing of the talc in J&J’s

 mines or the finished product, other than Dr. Longo’s and Rigler’s. 105 Despite not      P104F   P




 checking the results herself, she did not think it was important to compare Dr.

 Longo’s results and conclusions to what other scientists may have found when they

 analyzed the same materials or materials from the same places. 106
                                                                  P105F           P




 101
       Id. at 61:14-25; 62:22-63:21.
 102
       Id. at 17:15-18.
 103
       Id. at 23:3-12.
 104
       Id. at 17:19-23.
 105
       Id. at 77:1-23; 159:6- 160:10.
 106
       Id. at 77:25 – 78:13.
                                          26
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                      a. Dr. Dyar’s Criticism of Personnel and Methods are
                         Based Upon Speculation
                           U




          Dr. Dyar’s criticisms are not founded in any sound methodology but, instead

 rely upon mere speculation. For example, Dr. Dyar criticizes Drs. Longo and Rigler

 for not properly training their personnel for possible impurities in talc samples where

 “the possible mineralogy is unconstrained.” She claims that the analysts cannot

 “understand or interpret their results, especially where, as here, the impurities are

 tiny, and many possible minerals can be present.” 107     P106F   P           However, Dr. Dyar

 acknowledges that she cannot say what the minerology is in talc or what possible

 minerals could actually be present. 108 Her report outlines minerals similar to talc in
                                     P107F   P




 chemical formula but she cannot say that any of these minerals could feasibly be

 found in the samples provided by Johnson & Johnson or Imerys. 109 She claims thereP108F   P




 are hundreds of possibilities for misidentification but is unable to opine that any of

 the minerals subject to misidentification may actually be found in Vermont, China

 or Italy where J&J sourced for its talcum powder products. 110 She did not know,
                                                                       P109F   P




 nor did she inquire, if the owners of the mines in Vermont analyzed and documented


 107
       Dyar Report at 4.
 108
       Dyar Dep. at 163:18-164:16.
 109
       Dyar Report at 9.
 110
       Dyar Dep. 163:18-164:16.
                                                 27
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 what material was being extracted from the mines over the course of the thirty-five

 years they were used to source J&J’s talcum powder products. 111 Dr. Dyar’s
                                                                          P110F   P




 statements in this regard amount to nothing more than speculation and are not

 founded in science or accepted principles.

                        b. Dr. Dyar’s Criticism of Definitions and Protocols Used by
                           Dr. Longo Are Unsupported and Based Upon a
                           Subjective Belief
                                  U




          Dr. Dyar criticizes Dr. Longo’s definition of asbestos and focuses on the idea

 that asbestiform habit means the mineral can be separated into flexible fibers with

 high tensile strength. 112 Dr. Dyar repeatedly emphasizes the tensile strength and
                          P111F       P




 flexibility of the fibers to imply that these attributes can be tested to determine if a

 sample is asbestos. However, she could not identify any way to actually test for these

 attributes and admitted that she is “not familiar with the analytical techniques used

 to measure tensile strength or flexibility.” 113 She admits that she did not even
                                                 P112F   P




 research the issue outside of determining the definition of asbestiform habit and has

 never tried to measure the tensile strength of asbestos. 114 Nor could she can’t
                                                              P113F   P




 identify any literature documenting a methodology to test the tensile strength of a




 111
       Id. at 164:18-166:19.
 112
       Dyar Report at 10-13.
 113
       Dyar Dep. at 341:1-7.
 114
       Id. at 81:1-4.
                                            28
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 fiber that is 10 microns or less. 115 She admitted she would have to do research to
                                               P114F   P




 determine how to measure the flexibility of an asbestos fiber, 116 something that P115F   P




 would have been reasonable to do prior to writing her report and opining on the the

 significance of flexibility. She initially testified that she could not recall if Yamate,

 ISO 22262-1 or 22262-2 sets forth any steps or methodologies to determine either

 the tensile strength or the flexibility of a fiber that is being analyzed, but later

 admitted she is not aware of any such steps in those testing protocols. 117 She has no        P116F   P




 opinion on whether there is any peer-reviewed publication that tells you how to

 measure tensile strength in an asbestos fiber or bundle which is 20 microns long or

 less and, once again, she didn’t research that area. 118              P117F   P




          Dr. Dyar repeatedly criticizes Dr. Longo’s team’s interpretation of the EDS

 results. 119P118F       P   However, she finds the protocols and methods that he uses to be

 robust. 120
           P119F     P       Along the same lines, she claims that the EDS results in Dr. Longo’s

 reports could be any number of minerals, 121 but her statements are unsupported by
                                                           P120F   P




 115
       Id. at 80:5-24.
 116
       Id. at 85:15-86:14.
 117
       Id. at 86:15-87:3; 336:3-19.
 118
       Id. at 335:16-336:2.
 119
       Dyar Report at 18-19.
 120
       Dyar Dep. at 55:24-56:6; 106:12-20; 107;17-21.
 121
       Dyar Report at 18-19.
                                                           29
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 references to published literature or governmental publications. Beyond that, she

 maintains this assertion despite not being able to opine that any of the other potential

 minerals have ever been identified in the mines from which J&J sourced talc. 122    P121F   P




 More telling, Dr. Dyar admits that she could provide such an answer had she

 researched the issue, but she didn’t. 123                  P122F   P




          Dr. Dyar also is critical of Drs. Longo and Rigler for using the “eyeball”

 method of estimating EDS results, asserting that it is unsupported by the scientific

 community. 124 Dr. Dyar asserts that “it is important to do the calculations based on
                        P123F           P




 the peak areas with appropriate corrections in order to get even semi-quantitative

 data out of an EDS spectrum.” 125 However, Dr. Dyar can point to no ISO or other
                                                P124F   P




 standards that require quantitative data to analyze the chemical structure of a

 particle. 126 And, she has never tested an NIST reference sample of asbestos using
            P125F   P




 EDS/EDXA to determine what the EDS spectra looks like for tremolite or

 anthophyllite. 127             P126F       P




 122
       Dyar Dep. at 163:18-164:16
 123
       Id. at 164:18-165:5.
 124
       Dyar Report at 19.
 125
       Dyar Dep. at 125:22-25.
 126
       Id. at 126:1-129:14.
 127
       Id. at124:4-13.
                                                                        30
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          Dr. Dyar claims the Dr. Longo “deliberately avoided reporting the data that

 would actually be useful” when discussing quantitative data for EDS printouts. 128   P127F   P




 However, Dr. Dyar never cites to a standard requiring the data formula print outs,

 and none of the testing methodologies used by Drs. Longo & Rigler (ISO 22262-1,

 ISO 22262-2 or Yamate) require that quantitative data be generated in order to

 analyze the chemical structure of a particle. 129 In fact, she cannot even point to a
                                                              P128F   P




 standard that requires a printout of the quantitative data similar to figure 7 of her

 report for purposes of analyzing the chemical structure of a mineral to determine

 whether it’s consistent with asbestos. 130  P129F   P




          Dr. Dyar agrees that it’s not necessary to print out the chemical composition

 if you already know what it is. 131 This principal would seem to apply when you have
                                 P130F   P




 fewer choices and when asbestos is known to occur in the type of samples being

 reviewed. She notes that if you have “no idea and no independent constraints on

 what mineral it could be or what the composition could be” – it is your “obligation

 to produce as much quantitative information as possible.” 132 However, she ignores
                                                                          P131F   P




 the experience and knowledge of Dr. Longo and his team surrounding EDS


 128
       Dyar Report at 23.
 129
       Dyar Dep. at 126:1-131:10.
 130
       Id. at 124:14-131:17; 137:2-139:9.
 131
       Id. at 155:25-157:1.
 132
       Id. at 156:21-157:1.
                                                         31
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 identification of asbestos materials. Dr. Longo’s team was not looking for asbestos

 in an “unconstrained” environment. He was looking for asbestos in the context of

 the testing of historical samples where the mine or source of origin was known. 133
                                                                                 P132F




          Dr. Dyar also claims variability in results by date and analyst indicate

 incorrect findings and insists that because they were assigned at random the

 percentages of the minerals should be consistent and the geographical assignment

 was not biased. 134 However, she fails to take into account that the samples were not
                  P133F   P




 all received prior to when the testing began, so even though the samples were

 assigned randomly, Dr. Longo could only assign the samples that were in the lab’s

 custody as of any given date. The results of the analysts could vary depending on the

 mine the samples came from given that the minerology of Vermont, China and Italy

 can differ; a fact that Dr. Dyar admits she knows nothing about.

          Dr. Dyar was also ignorant of the percentage or ratio of tremolite and

 anthophyllite in the mines 135 so an analyst looking at mostly Vermont samples may
                              P134F   P




 133
     When confronted with numerous examples of EDS/EDXA analysis without
 quantitative data, including her own material, Dr. Dyar agreed that quantitative data
 was not always necessary. In fact, she acknowledged that it would not be appropriate
 to bring out the chemical analyses where the possible mineral was known based on
 independent studies. See Dyar Dep. at 158:5-8. Yet, the results of the Blount
 analysis of Vermont talc in her 1991 article (see Exhibit J, infra) are remarkably
 similar to Drs. Longo and Rigler’s findings.
 134
       Dyar Dep. at 245:7-253:19; Dyar Report at 24-27.
 135
       Id. at 250-253; 255:10-256:1.
                                          32
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 have different percentages of these materials than an analyst looking at samples from

 China. Dr. Dyar admitted that she was unaware of the mine locations for many

 samples. 136
            P135F   P   Again, this is all information that was readily available for

 consideration had Dr. Dyar wanted to include it as part of her analysis.

                                 c. Dr. Dyar’s Criticism of Dr. Longo’s Use of SAED are
                                    Purely Subjective
                                     U




          Dr. Dyar criticizes Dr. Longo’s Selected Area Electron Diffraction technique

 (SAED). Specifically, she says that when employing SAED multiple zone axes are

 needed to identify asbestos. 137 Zone axis measurement “refers to the way the crystal
                                                 P136F       P




 was positioned at the time the x-ray pattern was collected relative to the crystal

 structure itself.” 138 Dr. Dyar’s opinion implies that multiple pictures must be
                         P137F   P




 present to prove that an analyst saw more than one two-dimensional view of a

 mineral. Dr. Dyar assumes that since there is only one image in Drs. Longo &

 Rigler’s report their team could not have looked at it from two different angles as

 discussed in ISO 22262-1. 139 However, the lack of a photo does not mean the ISO
                                         P138F           P




 process was not followed. Dr. Longo and Rigler’s depositions indicated that analysts

 are tilting the goniometer and looking at the structure while examining it under the


 136
       Id. at 255:20-23.
 137
       Dyar Report at 28-32.
 138
       Dyar Dep. at 200:6-16.
 139
       Id. at 211:13-213:1.
                                                                 33
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 electron microscope and making a determination in real-time as to whether or not

 the crystalline structure is consistent with asbestos.      This practice meets the

 requirements of ISO-22262-1.

          During her deposition, Dr. Dyar agreed that when looking at the substance or

 the structure through the TEM, the analyst “is rotating the material in real time and

 deciding when to make an image.” 140 In fact, she acknowledged that it is standard
                                          P139F   P




 operating procedure that an analyst “in reviewing the structure or substance in real-

 time, can decide to take an image of the selected area of diffraction pattern whenever,

 in his or her judgment, he finds something worth capturing.” 141 P140F   P   Basically, the

 analyst can take a picture of the diffraction pattern at whatever points in time he or

 she thinks are important. 142 In contrast to her report, Dr. Dyar’s testimony confirms
                             P141F   P




 that real-time review of the structure provides the multi-dimensional view. 143  P142F




 140
       Id. at 40:13-19.
 141
       Id. at 40:20 - 41:3; 41:24-42:4.
 142
       Id. at 41:15-23.
 143
    ISO 22262-1 describes looking at the sample with SAED in real-time and “if the
 results obtained from one ED pattern do not resolve any ambiguity in the
 identification of a fiber, a second ED pattern obtained at a different orientation of
 the fiber can be examined, and the observed tilt angle between the two orientations
 can be compared with the theoretical angle calculated from the suspected crystal
 structure.” See Dyar Dep. at 206:4-210:23. ISO 22262-1 states “can” – not must or
 shall – when discussing a second view indicating that this is not a required step. Id.
 at 210:16-19.
                                                      34
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                Dr. Dyar complains that the report images are low quality and poorly

 documented. She also concludes that one can only identify asbestos from these

 images if they already concluded they were looking at asbestos prior to the SAED

 analysis. 144 She criticizes Dr. Longo but admits that this practice may be able to
                     P143F   P




 distinguish among species for materials that are already known to contain asbestos

 but would fail if the spectrum of possible mineralogy is broad. 145 Admittedly, she
                                                                      P144F              P




 has no basis for saying the mineralogy in J&J’s mines is broad. In light of the fact

 that Dr. Dyar could not even say whether there are three or more different minerals

 that could be identified in Vermont or Italian talc, she has no basis for saying that

 Dr. Longo’s practice is unable to identify asbestos. 146 P145F




                Dr. Dyar also criticizes Dr. Longo for incomplete and unfeasible D spacing

 data. 147 “D spacing” is the distance between layers of atoms. 148 Dr. Dyar states
        P146F    P                                                       P147F               P




 that since the pixels are not clear – she can’t recalculate their camera constant for

 each diffraction pattern and can’t confirm the D spacings they list. 149 She maintains
                                                                                 P148F           P




 144
       Dyar Report at 31.
 145
       Dyar Dep. at 213:19-214:6; Dyar Report at 32.
 146
       Id. at 220:21 – 221:14.
 147
       Dyar Report at 33-41.
 148
       Dyar Dep. at 200:6-16.
 149
       Id. at 234:21-240:3.
                                                35
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 her position, even though the camera constants were given, by refusing to admit that

 the “Camera K” is the number she is looking for. 150          P149F   P




          Dr. Dyar claims that more than 1000 minerals are in the D-spacing range listed

 in the report but, once again, she cannot say how many such minerals have been

 found in mines in Vermont used to source J&J talcum powder because she “does not

 know anything about the mineral assemblages present anywhere in Vermont.” 151      P150F   P




 She also criticizes two samples for unfeasible numbers despite there being over 180

 samples. 152
            P151F   P




                        d. Dr. Dyar’s Criticism of The Use of PLM is Based
                           Upon Incomplete and Inaccurate Facts
                              U




          Dr. Dyar agrees that “if done correctly [Polarized Light Microscopy] may”

 identify asbestos fibers, 153 noting that “PLM, when properly used, can identify
                                          P152F       P




 asbestos mineral content by observing the morphology and refractive indices of the

 particles in the sample.” 154 Dr. Dyar claims that the results among MAS analysts are
                                  P153F           P




 inconsistent. However, she admits she did not take into account the time an analyst




 150
       Id. at 239:9 -240:3.
 151
       Id. at 240:24-241:11; Dyar Report at 35.
 152
       Id. at 241:12-243:22.
 153
       Id. at 213:19-214:6.
 154
       Dyar Report at 43.
                                                          36
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 spent analyzing each sample, how much material was analyzed, or whether analysts

 were using an aberrational corrective lens. 155
                                               P154F




          Dr. Dyar says that none of the PLM analyses show asbestos fibers or bundles

 and opines that all of the analyses are cleavage fragments. 156 Yet, she only
                                                                    P155F       P




 researched what asbestos bundles actually look like in the course of writing her

 report. She admitted that she has “very little experience looking at amphibole

 bundles in thin section, which is why [she] referred to the literature to find what

 those images looked like.” 157 Her lack of experience regarding asbestos bundles
                                  P156F   P




 makes her unqualified to opine on this. She claims that she can tell the images

 contained cleavage fragments and not fibers based on her experience of examining

 minerals under a microscope and “I know what they look like” 158 despite having
                                                                        P157F       P




 never attempted to identify asbestos fibers or bundles in a substance where she didn’t

 know what it was. 159P158F   P




          She also criticizes the images of dispersion staining contained in Dr. Longo’s

 report, but incorrectly identifies an image as a dispersion staining image when it is




 155
       Dyar Dep. at 272:21-278:7.
 156
       Id. at 291:13-24.
 157
       Id. at 293:21-294:17.
 158
       Id. at 291:25-292:11.
 159
       Id. at 297:15-19.
                                              37
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 an elongation image. 160 Dr. Dyar condemns Dr. Longo for not using point counting,
                        P159F       P




 stating that it is the only way to estimate concentration by PLM, 161 but she cites to
                                                                     P160F   P




 the wrong ISO standard and ignores its limitations. 162 The ISO protocol notes that
                                                        P161F   P




 it is not accurate if the sample is of different thicknesses or densities and she doesn’t

 know if they were different thicknesses/densities or if the sample was sieved. 163             P162F       P




                       e. Dr. Dyar is not Qualified to Opine on TEM and Her
                          Opinions Pertaining to TEM Identification are
                          Pure Conjecture
                                U




          Dr. Dyar spends multiple pages critiquing Dr. Longo’s TEM analysis, 164 yet        P163F      P




 she has almost no experience examining asbestos bundles under TEM and

 completely relies on the literature she has studied during the course of this litigation

 for her knowledge. She concedes the identification is highly subjective but has

 somehow become an expert in the several months she has been retained.

          In her report, she notes that bundles occur with splayed ends. 165 However,
                                                                                 P164F   P




 when questioned, she cannot say whether that fiber bundles always exhibit splayed

 ends but agrees that ISO 22262-1 says that bundles may have splayed ends at either



 160
       Dyar Report at 49; see also Dyar Dep. at 278:8-285:23.
 161
       Dyar Report at 50-51.
 162
       Dyar Dep. at 299:3-301:1.
 163
       Id. at 303:24-307:25.
 164
       See Dyar Report starting at 52.
 165
       Id. at 53.
                                            38
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 end of the bundle or not at all. 166 As noted above, she admits having “very little
                                         P165F       P




 experience” with asbestos bundles. 167                  P166F   P




          Dr. Dyar states that the only way to determine whether a population of

 amphiboles is asbestiform or not is based on statistical distinction between fibers

 and fragments. 168 However, when asked to explain the statistical calculation she is
                  P167F   P




 touting, she could not point to any generally accepted or relied upon standard which

 has a minimum number of fibers or structures necessary in order to analyze the

 aspect ratios. She could only say that you “need enough fibers to create distribution

 with an acceptable standard deviation on the mean.” 169                  P168F   P




          ISO 22262-1 states that “If any amphibole fibres longer than 5 microns with

 aspect ratios in the range of 20:1 or higher are observed, then it can be concluded

 that amphibole asbestos is probably present, with the degree of certainty increasing

 with increasing aspect ratio.” 170 However, Dr. Dyar claims that it has to be an
                                 P169F           P




 average aspect ratio in the range of 20 to 1 or higher, but cannot give a cite for this.

 She claims that average is implied despite terminology that says “any fibres.” 171   P170F   P




 166
       Dyar Dep. at 312:17- 315:5.
 167
       Id. at 293:21-294:17.
 168
       Dyar Report at 59.
 169
       Dyar Dep. at 188:2-190:11.
 170
       Id. at 319:12-320:18.
 171
       Id. at 322:17-324:15.
                                                                     39
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 Further, she says that populations must be used even though they are not outlined in

 the ISO protocol. 172 Dr. Dyar criticizes the population mean from Dr. Longo’s report
                      P171F      P




 with an aspect ratio of 13.34 without being able to site to anything requiring a higher

 population mean. 173    P172F       P




            Dr. Dyar criticizes only counting particles with aspect ratios of greater than

 5:1 and for not giving aspect ratios for studied particles. 174 However, she agrees
                                                               P173F   P




 that the report gives the data needed to calculate such aspect ratios. 175P174F   P




            Dr. Dyar’s opinions in regard to the work done by Drs. Longo and Rigler and

 their team of analysts should be excluded. Her opinions are founded on unsupported

 speculation and are without a sound scientific basis. Dr. Dyar’s opinions and amount

 to nothing more than her a recitation of her subjective belief.


       V.      CONCLUSION


            For this and the other foregoing reasons, the Court should exclude the

 opinions and testimony of Ann Wylie, Ph.D. related to the geology of the mines used

 to source J&J’s talcum powder products, the presence of asbestos in the source mines

 and the talcum powder products, the definition of asbestos, the use of TEM testing


 172
       Id. at 318:16-319:4.
 173
       Dyar Report at 65-66. See also Dyar Dep. at 328:24-329:22.
 174
       Dyar Report at 65.
 175
       Dyar Dep. at 326:21- 328:23.
                                              40
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 generally, and the TEM testing of historical samples conducted by Drs. Longo and

 Rigler. In addition, the Court should exclude the opinions and testimony of Melinda

 Darby Dyer, Ph.D. in their entirety.

 Dated:       May 7, 2019               Respectfully submitted,

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